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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., and
CONSUMER SERVICE ALLIANCE OF TEXAS,

                             Plaintiffs,
v.
                                                    Civil Action No. 1:18-cv-295-LY
CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL MULVANEY,

                             Defendants.


                                    [PROPOSED] ORDER

       Upon consideration of the motion of Public Citizen, Inc., Americans for Financial

Reform Education Fund, Center for Responsible Lending, and National Consumer Law Center

for leave to file an amicus memorandum in opposition to the parties’ joint motion for a stay of

agency action pending review, it is hereby

       ORDERED that the motion is GRANTED.



Dated: ___________                                        __________________
                                                          Lee Yeakel
                                                          United States District Judge
